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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA

  COLONEL FINANCIAL MANAGEMENT
  OFFICER, et al.,
                             Plaintiffs,
                                                      Case No. 8:22-cv-1275 (SDM/TGW)
        v.
  LLOYD AUSTIN, in his official capacity as
  Secretary of the United States Department of
  Defense, et al.,
                             Defendants.

    MOTION FOR LEAVE TO FILE SUPPLEMENTAL MEMORANDUM IN
          SUPPORT OF DEFENDANTS’ MOTION TO DISMISS

        Defendants respectfully request leave to file a supplemental memorandum and

  declarations in support of their Motion to Dismiss, ECF No. 275, to address new

  factual assertions in the Declaration of Daniel Schmid, ECF No. 281-1. Plaintiffs do

  not oppose the relief sought in this motion.

        Defendants’ motion to dismiss was accompanied by declarations that

  established the rescission of the vaccine mandate as applied to the named Plaintiffs in

  this action. The declarations were made by Marine Corps officials with access to

  official records and information in their official positions. In response, Plaintiffs

  submitted a declaration of counsel reporting hearsay of unknown origin that purports

  to contradict some of the information provided by Defendants and offers new

  information of purported or speculative ongoing injuries to Plaintiffs (information that

  in some instances Plaintiffs failed to mention in discovery). Mr. Schmid’s declaration

  is out of date, incomplete, or inaccurate in many respects. For example, he reports


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  that some Plaintiffs continue to suffer adverse effect from being placed on the “Officer

  Disciplinary Notebook.”      Mr. Schmid lacks access to the ODN and personal

  knowledge of its contents, and is therefore misinformed. Placement on the Officer

  Disciplinary Notebook, “a database used to track officer misconduct and substandard

  performance in the Marine Corps,” is not itself a disciplinary measure, and such

  information is not included in an officer’s personnel file. See Marine Corps Order

  5800.16, Vol. 15 ¶ 0.10401. In any event, the Marine Corps has, in fact, closed the

  cases of Marine officers who were in the ODN solely for failure to comply with the

  COVID-19 vaccine mandate, and such officers have no record of adverse findings in

  the ODN. Prior placement on the ODN is not a disciplinary measure, is not annotated

  in an officer’s official personnel file, and cannot serve as a basis for adverse action.

  Initial investigation reveals other instances in which the declarant lacks information;

  examples include:

            • Captain 1 and Captain 2 have in fact been offered the opportunity to

               complete Expeditionary Warfighting School.

            • Second Lieutenant is already slated to return to training.

            • Gunnery Sergeant does not have any adverse fitness reports in his record.

            • Colonel Financial Management Officer was issued a Report of

               Misconduct, but it was never placed in his record, and will not be.

        Defendants are in the process of collecting information from different

  components of the Marine Corps in order to correct as many of these inaccurate factual



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  assertions as possible.     Defendants therefore respectfully seek leave to file a

  supplemental memorandum correcting the record and briefly addressing the relevance

  of these assertions. Extended argument is not necessary, and Defendants propose to

  file a supplemental memorandum of no more than 5 pages (and accompanying

  declarations) on or before Tuesday, February 14, 2023.

                         LOCAL RULE 3.01(g) CERTIFICATION

         On February 8 and 9, 2023, counsel for Defendants conferred via email with

  Plaintiffs’ counsel.    Plaintiffs’ counsel dispute that there are inaccuracies in Mr.

  Schmid’s declaration, but indicated that Plaintiffs do not oppose the relief sought in

  this motion.


  Dated: February 9, 2023                     Respectfully submitted,

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